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12
13                                         United States District Court

14                                              District of Nevada

15   United States of America,                               Case No. 2:19-cr-00311-JCM-DJA
16                  Plaintiff,
17                                                           Stipulation to Modify Conditions of Supervision
            v.
18                                                           (Fourth Request)
     Cameron Collings,
19                  Defendant,
20
21
22          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A. Trutanich, United

23   States Attorney, and Supriya Prasad, Assistant United States Attorney, counsel for the United States,
     and Richard A. Wright Esq., of Wright Marsh & Levy, and Robert Draskovich Esq., of Draskovich
24
     Law Group, counsel for the Defendant, Cameron Collings, that the conditions of his pretrial release be
25
     modified to ease current travel restrictions and other pretrial conditions for the purposes of Mr. Collings
26
     self-surrender to FCI Terminal Island on October 23, 2020 at 2:00 p.m. The U.S. Pretrial Office further
27
     agrees with this request.
28
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 1           This Stipulation is entered into for the following reasons:

 2           1.        The parties resolved this case preindictment. On January 2, 2020, a waiver of indictment,

 3   arraignment and change of plea hearing were held. ECF 5, 7. At that time, Mr. Collings pled guilty,

 4   by way of plea agreement, to one count receipt of child pornography in violation of 18 U.S.C. §§

 5   2252A(a)(2)(A) and (B)(1). ECF 3, 5, 7. A personal recognizance bond (PR bond) was entered. ECF
     9.
 6
             2.        On June 26, 2020, Mr. Collings was sentenced to 87 months’ imprisonment and the Court
 7
     ordered a self-surrender date of October 23, 2020. ECF 25, 26. The Judgment of Conviction was
 8
     entered on July 2, 2020. ECF 26.
 9
             3.        Mr. Collings has been on pretrial release since January 2, 2020 with no significant
10
     violations.
11
             4.        The parties and Pretrial Services recommend modifying his current pretrial conditions to
12
     allow for his travel outside of Clark County for the purposes of self-surrendering at FCI Terminal Island.
13
     Below is the proposed language for consideration:
14
                   x   That current travel restrictions be modified to allow for travel outside of Clark County
15
                       from October 21-October 23, 2020 for the purposes of self-surrendering at FCI Terminal
16
                       Island on October 23, 2020 at 2:00 pm.
17
                   x   That defendant’s location monitoring equipment be removed by October 21, 2020 to
18
                       allow for said travel thereafter.
19
                   x   All other conditions of pretrial release (including the curfew condition) would remain in
20                     effect until defendant self-surrenders at FCI Terminal Island.
21
             DATED October 15, 2020.
22
23   WRIGHT MARSH & LEVY                                     NICHOLAS A. TRUTANICH
24                                                           United States Attorney

25
     By: /s/ Richard A. Wright                               By: /s/ Supriya Prasad
26       Richard A. Wright                                       Supriya Prasad
         Robert Draskovich                                       Assistant United States Attorney
27       Attorneys for Mr. Collings

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                                                            2
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 1                                          United States District Court

 2                                                District of Nevada

 3
     United States of America,                                 Case No. 2:19-cr-00311-JCM-DJA
 4
                      Plaintiff,                               [Proposed] Order Granting Modification of
 5                                                             Pretrial Release Conditions
             v.
 6
     Cameron Collings,
 7
                      Defendant,
 8
 9
10           Pursuant to the Stipulation of the Parties and for good cause appearing:

11           IT IS HEREBY ORDERED: that the conditions of Defendant Collings’ pretrial release be

12   modified as follows:

13                x   That current travel restrictions be modified to allow for travel outside of Clark County

14                    from October 21-October 23, 2020 for the purposes of self-surrendering at FCI Terminal

15                    Island on October 23, 2020 at 2:00 pm.

16                x   That defendant’s location monitoring equipment be removed by October 21, 2020 to
                      allow for said travel thereafter.
17
                  x   All other conditions of pretrial release (including the curfew condition) would remain in
18
                      effect until defendant self-surrenders at FCI Terminal Island.
19
     IT IS SO ORDERED.
20
21            October 16, 2020.
     DATE:
22
23
24                                                          Honorable James C. Mahan
                                                            United States District Judge
25
26
27
28
                                                           3
